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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

          v.                                             Criminal Action No. 21-140 (JDB)

 LARRY BROCK,
         Defendant.


                                             ORDER

       Before the Court is defendant Larry Brock’s motion to extend his Federal Bureau of Prisons

(“BOP”) self-surrender date, which he filed on April 21, 2023. See Mot. to Extend BOP Self

Surrender Date (“Mot.”) [ECF No. 108]. Brock’s current self-reporting date is April 25, 2023, id.

at 1, and he requests that the Court extend that date until May 29, 2023, id. at 3. The United States

Probation Office does not oppose Brock’s motion. The government filed an opposition on the

same date the motion was filed. See Gov’t’s Opp’n to Mot. [ECF No. 109] (“Gov’t Opp’n”).

       Brock cites two reasons for his requested extension: (1) to allow him time “to request

release from the Circuit Court” before his self-surrender date, and (2) “to gain information this

Court has identified as material to the release question,” namely, whether the decision in United

States v. Fischer, 64 F.4th 329 (D.C. Cir. 2023) will receive further en banc review. See Mot. at

1–2. The government’s opposition focuses exclusively on Brock’s second reason for the requested

extension, see Gov’t Opp’n at 1–2, but it does not directly address his first reason.

       While the Court agrees with the government that the Court has already addressed the

Fischer-related issues in its previous Order denying Brock’s motion for release pending appeal,

the analysis of that decision does not control here, as that decision resolved a motion for release

pending appeal and the instant motion requests an extension of time for Brock’s self-surrender

date, which is a different issue. The Court is persuaded to grant Brock’s motion solely to give him

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a chance to seek relief from the D.C. Circuit before reporting to serve his sentence, as it sees little

reason not to grant him this brief extension on that ground.

                                          *       *       *

         For the foregoing reasons, upon consideration of [108] and the entire record herein, it is

hereby

         ORDERED that [108] Brock’s motion to extend his Bureau of Prisoners (“BOP”) self-

surrender date is GRANTED; and it is further

         ORDERED that Brock shall self-surrender to BOP on May 29, 2023.

         SO ORDERED.


                                                                                    /s/
                                                                             JOHN D. BATES
                                                                         United States District Judge
Dated: April 21, 2023




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